Case 3:21-cv-00259-DCG-JES-JVB                     Document 995         Filed 05/16/25      Page 1 of 2




                                                                               BY: CM/ECF System
   National Headquarters
   MALDEF Nonprofit Center
                                    May 16, 2025
   634 S. Spring Street, 12th Fl.
   Los Angeles, CA 90014
   Tel: 213.629.2512                Honorable Jerry E. Smith
   Fax: 213.629.0266                515 Rusk Street, Room 12621
   Atlanta
                                    U.S. District Courthouse
   Program Office                   Houston, TX 77002
   500 West Lanier Ave.
   Suite 908                        Honorable Jeffrey V. Brown
   Fayetteville, GA 30214
   Tel: 470.878.0785
                                    U.S. District Court, Southern District of Texas
                                    601 Rosenberg Ave., Room 613
   Chicago                          Galveston, TX 77550
   Regional Office
   100 North LaSalle St.
   Suite 1900
                                    Honorable David C. Guaderrama
   Chicago, IL 60602                Senior U.S. District Judge
   Tel: 312.427.0701                United States District Court
   Fax: 312.588.0782                Western District of Texas
   Los Angeles                      525 Magoffin Ave.
   Regional Office                  El Paso, TX 79901
   634 S. Spring Street,
   11th Fl.                         RE: League of United Latin American Citizens, et al v. Greg
   Los Angeles, CA 90014
   Tel: 213.629.2512                Abbott, et al, Case No. 3:21-cv-00259-DCG-JES-JVB
   Fax: 213.629.0266
                                    Dear Judges Smith, Brown, and Guaderrama:
   Sacramento
   Program Office
   1512 4th Street
                                    Please be advised that the expert reports of Dr. Maria Cristina
   Sacramento, CA 95814             Morales previously submitted for the bench binder in the trial
   Tel: 916.444.3031                of League of United Latin American Citizens, et al v. Greg
   Fax: 916.444.7207
                                    Abbott, et al, Case No. 3:21-cv-00259 will no longer be relied
   San Antonio                      upon by any plaintiffs at trial, and Dr. Morales will not testify
   Regional Office                  at trial. LULAC Plaintiffs will file amended pretrial
   110 Broadway                     disclosures to this effect and respectfully request that the
   Suite 300
   San Antonio, TX 78205            member of the Court remove all of the materials currently in
   Tel: 210.224.5476                the binder behind the tab for Dr. Morales.
   Fax: 210.224.5382
                                    Thank you for your attention to this matter.
   Washington, D.C.
   Regional Office
   1016 16th Street, NW             Sincerely,
   Suite 100
   Washington, DC 20036
   Tel: 202.293.2828

                                    Nina Perales
                                    Vice President of Litigation


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                                                      www.maldef.org
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                             CERTIFICATE OF SERVICE

         The undersigned counsel hereby certifies that she has electronically submitted a

 true and correct copy of the above and foregoing via the Court’s electronic filing system

 on the 16th day of May 2025.

                                                       /s/ Nina Perales
                                                       Nina Perales




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